                           CASE 0:25-mj-00265-ECW       Doc. 1      Filed 05/01/25      Page 1 of 1

  DW B
  AO 91 (Rev. 11/11) Criminal Complaint

                                          UNITEDSTATESDISTRICTCOURT
                                                       for the
                                               District of Minnesota

      UNITED STATESOF AMERICA
                                                            CaseNo. 25-mj-265 (ECW)
               V.                                          FILED UNDER SEAL PURSUANT TO 18
                                                           U.S.C. $ 3509(d)(2) AND LOCAL RULE
    JEREMY FRANCIS PLONSKI                                 49.1 (c)(1)(G)



                                             CRIMINAL COMPLAINT

      I, the undersignedcomplainant, being duly sworn, statesthe following is true and correct to the best of my

knowledge and belief. From in or about 2022 through in or about May 2023, in the Stateand District of Minnesota,

JEREMY FRANCIS PLONSKI attempted and actually employed, used, persuaded, induced, enticed and coerced

a victim to take part in sexually explicit conduct for the purpose of producing a visual depiction of such conduct,

such victim was a minor, and PLONSKI knew or had reason to know that such visual depiction either was produced

using materials that had been mailed, shipped, or transported across state lines or in foreign commerce by any means

or that it would be mailed or transportedacrossstatelines or in foreign commerce,all in violation of 18 U.S.C.

§ 2251(a) and (e).

      I further statethat I am an FBI SpecialAgent and that this complaint is basedon the following facts:

       SEEATTACHED AFFIDAVIT

Continued on the attached sheet and made a part hereof:



                                                                              'riimni nature
   SUBSCRIBED and SWORN before me                                SpecialAgent Matthew Vogel
   by reliable electronic means (Zoom and email)                 FederalBureauof Investigation
   pursuantto Fed. R. Cdm. P. 41(d)(3).                              e




   Date:            May 1, 2025
                                                                         Judge’sSignature

   City and State:ST. PAUL, MN                               The Honorable Elizabeth C. Wright
                                                             United StatesMagistrateJudge
                                                                     Printed Nameand Title
